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          United States Court of Appeals
                        For the First Circuit


No. 14-1059

                      UNITED STATES OF AMERICA,

                               Appellee,

                                   v.

                       LUIS A. GUZMÁN-BATISTA,

                        Defendant, Appellant.



           APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

         [Hon. Francisco A. Besosa, U.S. District Judge]


                                 Before

                        Lynch, Chief Judge,
              Torruella and Thompson, Circuit Judges.


     Liza L. Rosado-Rodríguez, Research and Writing Specialist,
with whom Héctor E. Guzmán-Silva, Jr., Federal Public Defender, and
Héctor L. Ramos-Vega, Assistant Federal Public Defender,
Supervisor, Appeals Section, were on brief, for appellant.
     Juan Carlos Reyes-Ramos, Assistant United States Attorney,
with whom Rosa Emilia Rodríguez-Vélez, United States Attorney, and
Nelson Pérez-Sosa, Assistant United States Attorney, Chief,
Appellate Division, were on brief, for appellee.



                            April 22, 2015
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            TORRUELLA, Circuit Judge.           Defendant-Appellant Luis A.

Guzmán-Batista ("Guzmán") appeals the district court's decision,

following a de novo Franks hearing, rejecting the magistrate

judge's report and recommendation and denying Guzmán's motion to

suppress    evidence   seized       following    a   search      of    his     home.

Specifically, Guzmán argues that the district court erred by

failing to take into account certain facts which purportedly

established that the agent's sworn statement in support of the

warrant    contained   false    statements,       and    that    without       those

statements, probable cause for the warrant was lacking.                      Because

this argument effectively boils down to a credibility determination

-- something the district court is in a much better position to

evaluate than we are -- we affirm.

                               I.    Background

A.   The Warrant and Subsequent Search

            On October 17, 2012, Puerto Rico Police Agent Héctor L.

Rivera-Torres ("Agent Rivera") applied for a search warrant in the

Superior Court of Puerto Rico, Ponce Part.              According to his sworn

statement in support of the warrant, on October 9, 2012, at

approximately 10:45 a.m., Agent Rivera arrived at the Los Pinos

ward in Villalba, Puerto Rico in an unmarked car.                 He parked in

front of unit #A-8, a white two-story residence with gray balcony

columns, which was occupied by Adam Rodríguez León, a suspect in a

marijuana    investigation.          After   surveilling        unit   #A-8      for


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approximately one hour, Agent Rivera observed Guzmán -- whom he

recognized as a defendant accused of murder and on pre-trial

release -- arrive on a "yellow four track" all-terrain vehicle

("ATV"). Guzmán entered unit #A-8 and was inside for approximately

five minutes before coming out and returning to the ATV.                Agent

Rivera observed Guzmán stand on the ATV, raise his sweater, remove

a gray pistol from the front of his waistband, and move it to the

back of his waistband. Guzmán then started the ATV and drove away.

Agent Rivera chose to follow Guzmán and observed him make the first

left-hand turn into the Apeadero ward, stop on the right hand side

of the street, get off the ATV, cross the street, and enter the

right side of a cream-colored wood and zinc residence with a rusted

roof and Miami windows.        Agent Rivera waited for approximately

twenty minutes but Guzmán never reemerged from the residence.

           Based on his observation of Guzmán's presence at a

location thought to be involved in narcotics trafficking and his

observation of the pistol, Agent Rivera sought a search warrant for

the cream-colored wood and zinc home.       The warrant was issued, and

the subsequent search uncovered six 9mm bullets.

B.   The Proceedings

           Because Guzmán was under indictment on state murder

charges, his possession of the six 9mm bullets violated 18 U.S.C.




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§ 922(n),1 and he was accordingly indicted on October 24, 2012.              On

January 8, 2013, Guzmán filed a motion to suppress, alleging that

the ammunition was discovered pursuant to a state search warrant

filled with false statements, without which probable cause could

not have been found.       Specifically, Guzmán argued that it was not

possible for Agent Rivera to have observed him at unit #A-8 with

the gun because he was wearing an electronic monitoring device as

part of his pre-trial conditions for his state murder case and the

device did not issue any out-of-range alerts during the time period

in question.      He therefore requested a Franks hearing.2          Guzmán's

motion    was   referred   to   a   magistrate   judge   for   a   report   and

recommendation (R&R).3




1
   18 U.S.C. § 922(n) makes it "unlawful for any person who is
under indictment for a crime punishable by imprisonment for a term
exceeding one year to . . . receive any firearm or ammunition which
has been shipped or transported in interstate or foreign commerce."
2
    "A defendant who believes that the police included false
statements or material omissions in an affidavit underlying a
search warrant may request an evidentiary hearing pursuant to
Franks v. Delaware, 438 U.S. 154, 155-56 (1978)." United States v.
Materas, 483 F.3d 27, 28 n.1 (1st Cir. 2007).
3
   28 U.S.C. § 636(b)(1)(B) permits a district judge to "designate
a magistrate judge to conduct hearings, including evidentiary
hearings, and to submit to a judge of the court proposed findings
of fact and recommendations for the disposition, by a judge of the
court."

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            1.   Proceedings Before the Magistrate Judge

            Having determined that Guzmán had met the requirements

for a Franks hearing,4 the magistrate judge held the hearing on

March 5, 2013.      Guzmán initially presented two witnesses.           The

first witness, Guzmán's mother Ada Batista, testified that as part

of his pre-trial conditions, Guzmán was required to stay inside his

home unless he was granted permission to go to court or the

hospital.   She added that she was at the house on October 9, 2012,

at 11:45 a.m., and while she had not seen Guzmán personally, she

would have known if he was not there because the electronic

monitoring device would have given off a loud alert if he had left

the premises.

            The second witness was Yashira Silva-González ("Silva"),

the supervisor of the Arrest Unit of Puerto Rico's Pre-Trial

Services Office which oversaw Guzmán's home monitoring.                Silva

explained that the electronic monitoring system used a radio

frequency and was composed of two parts: a receiving unit and a

bracelet worn by Guzmán at all times.       She further explained that

Guzman's system had a medium perimeter extending between 75-150



4
  "A defendant is entitled to an evidentiary hearing under Franks
where the defendant 'makes a substantial preliminary showing' that
both (1) 'a false statement knowingly and intentionally, or with
reckless disregard for the truth, was included by the affiant in
the warrant affidavit' and (2) 'the allegedly false statement is
necessary to the finding of probable cause.'" United States v.
Reiner, 500 F.3d 10, 14 (1st Cir. 2007) (quoting Franks, 438 U.S.
at 155-56).

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feet from the receiving unit and a six-minute grace period.                  In

other words, if the bracelet was outside of the perimeter for more

than six minutes, an alert would issue. The alert would be audible

in the premises and would also be electronically sent to the Pre-

Trial Services Office. Silva testified that Pre-Trial Services had

received twenty-three alerts from Guzmán's electronic monitoring

device between December 1, 2011, and October 16, 2012, but none on

October 9, 2012.         She also testified that Guzmán's file showed

numerous attempts to "manipulate" the electronic monitoring device

so   it    would   not   register   an   alert,   but   that   there   was   no

"manipulation" alert5 registered on October 9.             In response to a

question from the magistrate judge, Silva testified that there was

evidence that Guzmán's electronic monitoring device was working

that day.6

              The government presented only one witness: Agent Rivera.

Agent Rivera reiterated what was contained in his sworn statement

supporting the search warrant but provided additional details about

the incident.       He testified that he was parked 80 feet from unit

#A-8 and did not know where Guzmán was coming from when Guzmán



5
   Silva testified that a "manipulation" alert was different than
a "violation-of-the-perimeter" alert and that her office knew the
reason behind each alert it received.
6
   The receiving unit receives sporadic "hello" communications to
indicate that the electronic monitoring system is operational.
Silva testified that such a communication was received on
October 9, 2012.

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first arrived at the home.          Regarding the travel between unit #A-8

in the Los Pinos ward and Guzmán's home in the Apeadero ward, Agent

Rivera stated that the two houses were only 600 meters apart.                        He

testified that both he and Guzmán were driving at "normal" speed --

approximately 35 miles-per-hour -- and while he slowed down for

speed bumps, Guzmán did not.             Guzmán did, however, slow down when

making the turn.         According to Agent Rivera, it took no more than

a   minute   to       travel   between   the     two   houses     and   that   it   was

approximately six minutes from the time he first saw Guzmán until

Guzmán entered his home.           Finally, Agent Rivera could not explain

why he failed to arrest Guzmán on October 9, given that he knew

Guzmán was under house arrest and that he had observed Guzmán with

the handgun.

             In       rebuttal,   Guzmán    called      Frances     Rivas-Rodríguez

("Rivas"),        a    paralegal/investigator          at   the    Federal     Public

Defender's Office. Rivas testified that the distance from Guzman's

home to the border of the street is 60 feet, from Guzmán's home to

unit #A-8 is 1,917 feet, and from the entrance of the street to the

entrance of unit #A-8 is 554 feet.                In addition, Rivas presented

videos of her driving between Guzmán's house and unit #A-8 at both

30 and 35 miles-per-hour; at 30 miles-per-hour the trip took one

minute and eight seconds, whereas it took one minute and four

seconds at 35 miles-per-hour. She admitted reducing her speed when




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she turned into the wards and was unable to say if traveling in an

ATV would be faster than in a car.

          On April 11, 2013, the magistrate judge issued her R&R.

She found that Guzmán's electronic monitoring device was working

properly on October 9, 2012, and thus in order to believe the

version of the facts presented by the government and Agent Rivera,

everything described by Agent Rivera must have occurred in less

than six minutes.    According to the R&R, this was "inconceivable"

because there was no way, given that Guzmán was in unit #A-8 for

approximately five minutes, that he was able to arrive at unit #A-8

from an unknown location, exit unit #A-8, get on his ATV, and

return to his own home in less than one minute, all without

realizing that he was being followed.           The R&R also found it

"troubling" that Agent Rivera testified that the whole encounter

took approximately six minutes -- the exact time of the grace

period -- yet never stated this in his sworn statement in support

of the warrant.   It also emphasized that the six minutes observed

by Agent Rivera failed to take into account the time Guzmán must

have been outside the perimeter before arriving at unit #A-8.

Finally, the R&R found it "difficult to believe" that Agent Rivera

chose not to detain Guzmán on October 9 -- despite being aware that

he was violating the terms of his pre-trial release and observing

him with a firearm -- and instead waited eight days before seeking

a search warrant.


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          As a result, the R&R "f[ou]nd the version of facts as

testified by PRPO Rivera-Torres and as similarly included in the

sworn statement in support of the state search warrant to be too

incredible to believe." It also concluded that the sworn statement

in support of the search warrant "had false and/or misleading

information in reckless disregard of the truth and that without

such information the sworn statement would not have sufficed to

establish probable cause for the state search warrant."                It

therefore recommended that the district court grant Guzmán's motion

to suppress.

          2.   Proceedings Before the District Court

          The government filed objections to the R&R and requested

a de novo hearing.7      The district court granted this request,

explaining that "the magistrate judge's recommendations are based

on her credibility determinations of the witnesses" and that it

would be improper for the district court to decide the issue



7
   28 U.S.C. § 636(b)(1) provides that, "[w]ithin fourteen days
after being served with a copy, any party may serve and file
written objections" to a magistrate judge's proposed findings and
recommendations.   "A judge of the court shall make a de novo
determination of those portions of the report or specified proposed
findings or recommendations to which objection is made." Id.; see
also United States v. Hernández-Rodríguez, 443 F.3d 138, 147-48
(1st Cir. 2006) ("The Supreme Court has held that a district judge
need not hear the live testimony of a witness in order to accept
the credibility determination of a magistrate judge.       However,
. . . . absent special circumstances, a district judge may not
reject the credibility determination of a magistrate judge without
first hearing the testimony that was the basis for that
determination." (internal citation omitted)).

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"without first hearing the testimony that was the basis for that

determination."

            The de novo hearing took place on July 2, 2013.         Guzmán

provided essentially the same evidence via testimony from Batista

(through an agreed-upon proffer) and Silva.          At the close of this

evidence, the government argued that Guzmán had not met his burden,

and thus asked the district court to deny the motion to suppress.

The   district   court   refused,   however,   and   strongly   urged   the

government to call Agent Rivera to testify because the district

court "d[id]n't have any evidence that [Guzmán] was outside the

house.     So . . . it would be to the Government's benefit to show

that he was outside the house."      It added that "if the agent says,

'I saw him outside the house,' even though he was within the

perimeter for less than six minutes, that may be sufficient for me.

I don't know."

            In response, the government called Agent Rivera, who

provided the same information as at the initial hearing before the

magistrate judge and in his sworn statement in support of the

warrant.     He added, however, a few additional details.           First,

Agent Rivera testified that it only took "a matter of seconds" for

Guzmán to leave unit #A-8 in Los Pinos, return to the ATV, turn it

on, move the gun from the front of his waistband to the back, and

begin moving.     He added that he followed Guzmán "at a prudent

distance" and observed Guzmán pass over the speed bumps "quickly"


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and not slow down as he made the left-hand turn into the Apeadero

ward.      Finally, Agent Rivera testified that he was traveling

"around 35, 40" miles-per-hour and that Guzmán "was going a little

faster."

              On cross-examination, Agent Rivera stated that he did not

use a camera or take any pictures during his surveillance that day.

He also explained that he did not detain Guzmán when he saw him in

violation of his pre-trial conditions and carrying the handgun "for

safety purposes."8 Finally, Agent Rivera conceded that evidence in

a prior case he was involved in was suppressed because the Puerto

Rico Commonwealth court determined that Agent Rivera's testimony

was "stereotype," "unreal," and "improbable."

              The government also presented the testimony of Vladimir

González, an agent at the Bureau of Alcohol, Tobacco, Firearms and

Explosives ("ATF") and a former engineer. Agent González testified

that the distance from Guzmán's house to the road was 110 feet, and

thus    was   contained   within   the   75-150   feet   perimeter   of     the

electronic     monitoring   device.      He   further    testified   that    he

measured the distance between the two houses and arrived at a

distance of "around 1,802 feet."         Thus, at a constant speed of 25

miles-per-hour (i.e., not including slowing down for speed bumps or

turns), it would take forty-nine seconds to travel between Guzmán's


8
  Agent Rivera elaborated on redirect that his safety concern came
about because he "saw that [Guzmán] had a weapon" and because he
was conducting surveillance by himself, without any backup.

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house and unit #A-8; at 30 miles-per-hour it would take around

forty seconds.   On cross-examination, Agent González stated that

this latter calculation was only an estimate.

           Finally, Guzmán once again presented Rivas as a rebuttal

witness.   She gave the same testimony as she did in the initial

Franks hearing and introduced the same videos into evidence.           On

cross-examination, she conceded that she was not an engineer.

           After hearing all of this evidence, the district court

announced its decision from the bench.       It stated as follows:

                  First of all, I find, based on evidence
           I believe credible, that Defendant Guzmán
           violated the Commonwealth Court order that he
           remain inside his house.

                  Whether he was inside the perimeter
           during the time he was outside the house or
           whether he had been outside the perimeter for
           less than the six-minute grace period during
           the time he was outside the house is not of
           importance to the Court.

                  The perimeter and the six-minute grace
           period are not part of the State Court's order
           but an administrative matter established by
           the pretrial office so as not to congest the
           system with alerts.

                  The fact that Defendant Guzmán-Batista
           violated the conditions imposed is only
           important to show that he was out of his
           residence, not to show that probable cause
           existed for a search warrant.

                  But the evidence that the Court
           believes credible also consists [of the fact]
           that Defendant Guzmán-Batista was outside the
           house, in which he had to remain, on a Yamaha
           Banshee four-track and that he removed the
           gray pistol from his front waistband and

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            placed it in his back waistband. That gave
            Agent Rivera probable cause to obtain a search
            warrant for the house into which Defendant
            Guzmán-Batista entered, the wooden house with
            the rusty zinc roof and the Miami windows.

                   The magistrate judge focused on the
            fact that there was no alert because she found
            that Defendant Guzmán-Batista was either
            within the perimeter or outside the perimeter
            for less than six minutes, but I don't think
            that's important here.

                   Therefore, I am going to reject the
            magistrate's report and recommendation and
            allow the evidence to be presented.


            Guzmán subsequently entered a conditional plea of guilty

on September 12, 2013, reserving his right to challenge the

district court's ruling on his motion to suppress. On December 12,

2013, he was sentenced to thirteen months of imprisonment and three

years of supervised release.          He now timely appeals.

                               II.    Discussion

            Guzmán argues that the district court erred when it

denied his motion to suppress because it should not have accepted

the   version   of    events   as    described   by   Agent   Rivera    and   the

government.      In    other    words,    the    district     court    committed

reversible error when it credited Agent Rivera's testimony.                    We

disagree.

            While we review a district court's ultimate decision to

suppress evidence obtained pursuant to a warrant de novo, the

"factual findings made by a district court in connection with a


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Franks hearing are reviewed for clear error."9         United States v.

Tzannos, 460 F.3d 128, 135-36 (1st Cir. 2006).       Clear error exists

when there is a "definite and firm conviction that a mistake has

been committed."   Anderson v. City of Bessemer, 470 U.S. 564, 573

(1985) (internal quotation marks omitted).           Under any set of

circumstances, clear error is "not an easy standard to meet."

United States v. Kinsella, 622 F.3d 75, 86 (1st Cir. 2010).            This

is particularly true, however, when the challenge is to a witness's

credibility, due to our "inability to see witnesses face-to-face or

to appraise in person their demeanor and inflection."              United



9
   Guzmán argues that the district court failed to make factual
findings on the record, and thus the more lenient de novo standard
applies.   This argument lacks merit.     A district court is not
required to make written findings of fact; rather, it is only
required to "state its essential findings on the record," Fed. R.
Crim. P. 12(d), so we may review the record in a "reasoned and
meaningful manner," United States v. Fields, 371 F.3d 910, 916 (7th
Cir. 2004) (internal quotation marks omitted). Here, the district
court specifically stated that: "based on evidence [it] believe[d]
credible, that Defendant Guzmán violated the Commonwealth Court
order that he remain inside his house"; it "believe[d] credible
. . . that Defendant Guzmán-Batista was outside the house, in which
he had to remain, on a Yamaha Banshee four-track and that he
removed the gray pistol from his front waistband and placed it in
his back waistband"; and "[t]hat gave Agent Rivera probable cause
to obtain a search warrant for the house into which Defendant
Guzmán-Batista entered, the wooden house with the rusty zinc roof
and the Miami windows." It also explained that it did not think it
was important or necessary to its determination whether or not
Guzmán was outside the perimeter for less than six minutes. These
are obvious findings of fact which are more than sufficient for us
to review the record in a reasoned and meaningful matter. Thus,
clear error is the appropriate standard.     Cf. United States v.
Carrigan, 724 F.3d 39, 45 (1st Cir. 2013) (explaining that the
standard of review is de novo when the district court fails to make
any findings of fact).

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States v. Henderson, 463 F.3d 27, 32 (1st Cir. 2006) (internal

citations and quotation marks omitted).                      Accordingly, we are

"especially       deferential     to     the    district     court's     credibility

judgments."       Id. (internal citations and quotation marks omitted);

see also Anderson, 470 U.S. at 575 (explaining that a challenge

based    on   a    district     court's        credibility    determination      "can

virtually     never      be   clear   error").         Indeed,    absent    objective

evidence that contradicts a witness's story or a situation where

the story itself is so internally inconsistent or implausible that

no reasonable factfinder would credit it, Anderson, 470 U.S. at

575, "the ball game is virtually over" once a district court

determines that a key witness is credible.                    Rivera-Gómez v. de

Castro, 900 F.2d 1, 4 (1st Cir. 1990).

              Here,   the     district    court     heard    all   the     testimony,

observed Agent Rivera's demeanor, and "believe[d] credible" Agent

Rivera's testimony that "Defendant Guzmán-Batista was outside the

house, in which he had to remain, on a Yamaha Banshee four-track

and that he removed the gray pistol from his front waistband and

placed it in his back waistband."                  This finding is effectively

"game over" for Guzmán.          See id.

              In an attempt to get around this, Guzmán hinges his

entire    claim     on    the   assertion       that    because    the     electronic

monitoring device never sent an alert, everything described by

Agent Rivera must have occurred within the six-minute grace period


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permitted by the electronic monitoring device.             He claims that not

only is this assertion so implausible that it should not be

credited, but also that he provided objective evidence proving that

it is impossible.       We have carefully reviewed the transcripts of

both Franks hearings and come to a different conclusion.                     Agent

Rivera     testified    that     Guzmán     was   inside     unit     #A-8    for

"approximately" five minutes and it only took a matter of seconds

for Guzmán to exit the house, reposition the gun, and leave the

premises.      Agent González, meanwhile, testified that at thirty

miles-per-hour, it would take around forty seconds to travel

between the two houses, and Agent Rivera testified that Guzmán was

traveling faster than that.         Moreover, the distance between the

road and the entrance to Guzmán's house was only 110 feet, and thus

could have been contained within the perimeter of the electronic

monitoring device.      As a result, it is possible for the events to

have occurred within the six-minute grace period, with time left

over for Guzmán to have left the perimeter and arrived at unit #A-8

before first being seen by Agent Rivera.           It is also important to

remember     that    all    of    Agent     Rivera's   observations           were

approximations, and thus the events could have transpired even more

quickly.

             Admittedly, it is a bit convenient that Agent Rivera's

observation of Guzmán coincided perfectly with the timing of the

grace    period.       However,    the    government       provided    multiple


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explanations. First, it argued that Guzmán had numerous alerts for

violating the electronic monitoring device.         It is reasonable to

believe that, through these alerts, Guzmán learned that he had six

minutes before an alert would be sent, and thus tailored his

behavior accordingly. Second, the government posited that Guzmán's

file noted multiple "manipulation" attempts.        It is also possible,

they argued, that he had succeeded in manipulating the system so

that he could violate the perimeter for more than six minutes

without setting off the alert.         The burden of persuasion is on

Guzmán, not the government, and given the evidence presented of

multiple   alerts   and     numerous   violations    of   his   pre-trial

conditions, neither of these scenarios are "so implausible" that no

reasonable factfinder could credit Agent Rivera's testimony.           See

Anderson, 470 U.S. at 575.

           Guzmán does present compelling evidence.          However, as

just explained, this evidence is not "objective evidence that

contradicts [Agent Rivera's] story."      Id.   At most, it creates two

possible alternative versions of the events of October 9, 2012.

The first is the consistent story described by Agent Rivera in his

sworn statement in support of the warrant and at both Franks

hearings; the second is, as Guzmán argues, that Agent Rivera

fabricated his entire observation as a ruse to gain access to

Guzmán's residence.       The district court credited Agent Rivera's

version of events, and "a district court's choice between two


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plausible competing interpretations of the facts cannot be clearly

erroneous."     Henderson, 463 F.3d at 32 (quoting United States v.

Weidul, 325 F.3d 50, 53 (1st Cir. 2003)); Rivera-Gómez, 900 F.2d at

4 (explaining that "[o]nce credited," the defendant's testimony

"supported the district court's rationale almost singlehandedly"

because the "[d]efendant's testimony was neither severely impeached

nor inherently improbable").

                            III.   Conclusion

             Though Guzmán presents a strong case that the version of

events described by Agent Rivera may not be true, we see nothing in

the record to definitely and firmly convince us that a mistake has

been committed by the district court.       At the end of the day, this

was a credibility determination by the district court, and we will

not second-guess its decision to credit Agent Rivera's testimony as

credible after it heard all the testimony and observed all of the

witnesses'    demeanors   firsthand.      Having   found   Agent   Rivera's

testimony -- and thus his sworn statement in support of the warrant

-- to be credible, there was easily probable cause to issue the

search warrant.     Guzmán's motion to suppress was properly denied.

             AFFIRMED.




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